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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                              )
    In re:                                                    )    Chapter 11
                                                              )
    RED REEF ALTERNATIVE INVESTMENTS,                         )    Case No. 20-12602 (BLS)
    LLC and EMERGENT CAPITAL, INC.,1                          )
                                                              )    Jointly Administered
                                     Debtors.                 )

                                      CERTIFICATE OF SERVICE

                 I, Colin R. Robinson, hereby certify that on the 16th day of October, 2020, I
caused a copy of the documents listed below to be served on the individuals on the attached
service list in the manner indicated:

     NOTICE OF ENTRY OF ORDER DIRECTING JOINT ADMINISTRATION OF
      RELATED CHAPTER 11 CASES FOR PROCEDURAL PURPOSES ONLY


Dated: October 16, 2020

                                                 PACHULSKI STANG ZIEHL & JONES LLP

                                                 /s/ Colin R. Robinson
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                                                 Attorneys for Debtors and Debtors in Possession




1  The last four digits of each Debtor’s taxpayer identification number are: Red Reef Alternative Investments, LLC
(0302) and Emergent Capital, Inc.’s (3473). The location of the Debtors’ service address for purposes of these cases
is 1200 North Federal Highway, Suite 200, Boca Raton, FL 33432.



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Red Reef and Emergent 2002 Service List        ELECTRONIC MAIL
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